       Case 2:20-cv-02370-NIQA Document 93 Filed 08/04/22 Page 1 of 4




           IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN J. LYNGAAS, D.D.S.,                  )
P.L.L.C., individually and on behalf       )
of all others similarly-situated,          )
                                               Civil Action No. 20-2370
                                           )
                        Plaintiff,         )
                                               Hon. Nitza I. Quiñones
                                           )
                                               Alejandro
            v.                             )
                                           )
                                               PUTATIVE CLASS ACTION
IQVIA, INC.,                               )
                                           )
                        Defendant.         )

                             DECLARATION

      Jonathan B. Piper, who is an attorney of record for Plaintiff in this
matter, hereby declares under penalty of perjury under the laws of the
United States that the attached is a true and correct copy of linked-in
postings of Jordan Ferguson downloaded on June 23, 2022 from the url
https://www.linkedin.com/posts/jordan-ferguson-299aa721_i-need-a-
lawyer-iqvia-has-been-holding-up-activity-6929879401853538304-_nB0.


                                     By: /s/ Jonathan B. Piper
6/23/22, 3:20 PM            Case 2:20-cv-02370-NIQA           Document
                                    Jordan Ferguson on LinkedIn:              93IQVIA
                                                                 I need a Lawyer.  Filed   08/04/22
                                                                                      has been holding up Page   2 of 4 insurance
                                                                                                          my unemployment

                   People       Jordan                                                             Ferguson                                                Join now   Sign in



                                  Jordan Ferguson’s Post

                                                Jordan Ferguson
                                                Sr Datbase Analyst at ImpactRx
                                                1mo

                                   I need a Lawyer. IQVIA has been holding up my unemployment insurance. So after being abused by Mark Snyder for
                                   3 years. I am being screwed financially. I am a whistleblower and they are doing everything in there power to hurt
                                   me more than they already have.



                                         Like           Comment                  Share



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                                  See other posts by Jordan

                                                Jordan Ferguson
                                                Sr Datbase Analyst at ImpactRx
                                                1mo

                                   I was abused by my boss for three years. It has f’d me up pretty bad. I want my pound of flesh. I was asked to send
                                   out a million plus unsolicited faxes unser direction of my boss the truth needs to come out. I also used client files
                                   from the pharmaceutical industry to recruit physicians. Problem is the client files were no longer clients. We should
                                   have deleted the list instead greed and desperation to recruit panelist and survey takers was more important then
                                   doing the right thing.



                                         Like           Comment                  Share



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                                                Jordan Ferguson
                                                Sr Datbase Analyst at ImpactRx
                                                3mo

                                   What do you do when your questioning if what you did for you boss was ethical. Better yet what do you do when
                                   your boss treated you differently for years?


                                   1 Comment


                                   Like         Comment          Share



                                                                                   To view or add a comment, sign in




                                                Jordan Ferguson
                                                Sr Datbase Analyst at ImpactRx
                                                10mo



                                   This is it do or die need your daily votes. Down to last 3 day only number 1 moves on.

                                   https://lnkd.in/g3Cjzmr




                                   Vote for Jordan Ferguson to build a bike with Paul Teutul, Sr.
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                                                Jordan Ferguson
                                                Sr Datbase Analyst at ImpactRx
                                                10mo




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                                                                                                     my unemployment
                               https://lnkd.in/g3Cjzmr




                                         Jordan Ferguson
                                         Sr Datbase Analyst at ImpactRx
                                         10mo



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                                  https://lnkd.in/gVGdCEU


                                 cdn.dreamchopper.com


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                                        Jordan Ferguson
                                        Sr Datbase Analyst at ImpactRx
                                        10mo



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                                        10mo



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                                        Jordan Ferguson
                                        Sr Datbase Analyst at ImpactRx
                                        10mo



                               I need your daily votes please! Thank you!

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                                        10mo




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                                                                                                      my unemployment
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                                        Jordan Ferguson
                                        Sr Datbase Analyst at ImpactRx
                                        11mo



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